Case 1:18-cv-00225-DKW-KSC Document 26 Filed 08/27/18 Page 1 of 3                PageID #: 556
                                                                             ORIGINAL
       Donna Mae Amina
                                                                 r>f?f:EiVEDBY \J J   I.   •

       Melvin Keakaku Amina
                                                                     FILED IN THE          ^
       2304 Metcalf Street 2                                UNITED STATES DISTRICT COURT
                                                                 DISTRICT OF HAWAII
      Honolulu, HI 96822
      (808)949-5215                                                 AU6 27 2018
                                                            at 1 o'clock and ^ ^ min. A m.
                                                                  SUE BEITIA, CLERK




                 IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII


 U.S. BANK NATIONAL ASSOCIATION,                     CIVIL NO.
 AS TRUSTEE FOR J.P. MORGAN                               18-00225 DKW-KSC
 MORTGAGE ACQUISITION TRUST 2006-
 WMC2,ASSET BACKED PASS-THROUGH
 CERTIFICATES, SERIES 2006-WMC2,

             Plaintiff,
                                                          OBJECTION TO [25]
       V.                                                        ORDER


 DONNA MAE AMINA,ALSO KNOWN AS
 DONNA M. AMINA; MEL VIN KEAKAKU
 AMINA ALSO KNOWN AS MELVIN K.
 AMINA; ASSOCIATION OF APARTMENT
 OWNERS OF 2304 METCALF STREET; and
 DOES 1 through 20, Inclusive,
             Defendants.



       The Amina Defendants object to [25] Order, filed and entered 8/30/2018:

 'Defendants are ordered to remit $3,559.09 to Plaintiffs counsel by 9/3/18.
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      1. The case was on appeal. The Amina Defendants'[21] Notice ofAppeal was

         filed on 8/14/2018, Therefore, Ninth Circuit Court of Appeals had jurisdiction

         ofthis case as ofthe 8/20/2018 date offiling ofthe [25] Order, and

         consequently this District Court did not.

      2. The removal was not improper, because ofthe problems with Hawaii's

         statehood (this is the issue on appeal). Since Hawaii lacks legal existence, no

         one can be a citizen ofHawaii. In particular, the Amina Defendants cannot be

         citizens of Hawaii, and therefore 28 U.S.C. § 1441(b)(2).

      3. The [8] Motion never asked for attorney fees. The[8-2] Declaration of Adrian

         Lavarias never mentions attorney fees, costs or tax.

      4. The Amina Defendants have never been served with anything about attorney

         fees, costs or tax. Therefore, this is the first opportunity to object.

      5. The Amina Defendants never agreed to pay Plaintiffs attomey fees.

      6. The attomey fees are excessive.

      7. The symbol"$" apparently refers to Federal Reserve Notes, not lawful money

        (which to this day is defined as gold and silver coin). This Court lacks power

         to order payment made in anything but lawful money.


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Executed on: August        2018



Donna Amina, Plaintiff Pro Se                 Melvin An:nna,iPlaintiff Pro Se
2304 Metcalf Street                           2304 Metcalf Street
 Honolulu, HI 96822                          Honolulu, HI 96822
(808)949-5215                                (808)949-5215

                              CERTIFICATE OF SERVICE


 On the date last written below,I served a true copy of the foregoing document upon
the following parties in this action by First Class U. S. mail postage prepaid:

      U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR J.P.
      MORGAN MORTGAGE ACQUISITION TRUST 2006-WMC2, ASSET
      BACKED PASS-THROUGH CERTIFICATES,SERIES 2006-WMC2
      do ADRIAN L. LAVARIAS
      Bays Lung Rose & Holma
      Topa Financial Center
      700 Bishop St., Suite 900
      Honolulu, HI 96813

      U.S. BANK NATIONAL ASSOCIATION
      c/o ZACHARY K. KONDO
      ALDRIDGE PITE, LLP
      810 Richards Street, Suite 700
      Honolulu, HI 96813

      U.S. BANK NATIONAL ASSOCIATION
      c/o LLOYD T. WORKMAN
      ALDRIDGE PITE, LLP
      4375 Jutland Drive, Suite 200
      P.O. Box 17935
      San Diego, CA 92177-0935



Executed on: August        2018
                                      (signed by person mailing)
